     Case 2:19-cv-02185-PSG-AS Document 11 Filed 03/28/19 Page 1 of 2 Page ID #:405

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
    Case No.       CV 19-2185 PA (MRWx)                                              Date       March 28, 2019
    Title          Daniel W. Robinson, et al. v. Mortgage Electronic Registration Systems Inc., et al.



    Present: The Honorable       PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
            Kamilla Sali-Suleyman                                 None                                  N/A
                 Deputy Clerk                                Court Reporter                           Tape No.
                Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                             None                                                      None
    Proceedings:              ORDER TO SHOW CAUSE

         The Court has reviewed the Complaint filed by plaintiffs Daniel W. Robinson, Darla J. Robinson
(together with Daniel W. Robinson, the “Robinsons”), and Miguel A. Cabrera (“Cabrera”; together with
the Robinsons, the“Plaintiffs”) against defendants Mortgage Electronic Registration Systems Inc.
(“MERS”), United Pacific Mortgage, and Universal American Mortgage Company of California
(collectively “Defendants”). (Docket No. 1-6.) According to the Complaint, the Robinsons live at a
property in Los Angeles, California at 19127 Romar Street, Los Angeles, California 91324, and Cabrera
lives at a property in Los Angeles, California at 103 Crabapple Drive, Pomona, California 91767.
Plaintiffs secured their properties with Deeds of Trust and request a judicial determination that MERS is
not a beneficiary, nominee, or agent under the Deeds of Trust securing their separate properties.1/

       Federal Rule of Civil Procedure 20(a) allows for permissive joinder of parties. Rule 20(a)(1)
provides:

                    Persons may join in one action as plaintiffs if:

                            (A) they assert any right to relief jointly, severally, or in the
                            alternative with respect to or arising out of the same
                            transaction, occurrence, or series of transactions or
                            occurrences; and

                            (B) any question of law or fact common to all plaintiffs will
                            arise in the action.

Fed. R. Civ. P. 20(a)(1) (emphasis added); see also League to Save Lake Tahoe v. Tahoe Reg’l Planning
Agency, 558 F.2d 914, 917 (9th Cir. 1977). “The first prong, the ‘same transaction’ requirement, refers


1
       While Plaintiffs’ Complaint includes United Pacific Mortgage and Universal American Mortgage
Company of California as named defendants, there are no claims brought against them. In MERS’
Notice of Removal, MERS argues Plaintiffs fraudulently joined those defendants. (See Docket No. 1.)
CV-90 (06/04)                                   CIVIL MINUTES - GENERAL                                       Page 1 of 2
  Case 2:19-cv-02185-PSG-AS Document 11 Filed 03/28/19 Page 2 of 2 Page ID #:406

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV 19-2185 PA (MRWx)                                             Date    March 28, 2019
 Title          Daniel W. Robinson, et al. v. Mortgage Electronic Registration Systems Inc., et al.

to similarity in the factual background of a claim.” Coughlin v. Rogers, 130 F.3d 1348, 1350 (9th Cir.
1997).

        Plaintiffs have not alleged that the Rule 20(a)(1) standard is met. Based on the factual
allegations in the Complaint, it is not clear Plaintiffs assert any right to relief jointly, severally, or in the
alternative based on the same transaction, occurrence, or series of transactions or occurrences. Rather,
Plaintiffs appear to allege only that MERS is not a valid beneficiary, nominee, or agent under their
separate Deeds of Trust covering separate real properties. The Court therefore orders Plaintiffs to show
cause, in writing, no later than April 11, 2019, why one of the Plaintiffs should not be dropped from this
case for improper joinder. See Fed. R. Civ. P. 18, 20, 21; see also Coughlin,130 F.3d at 1351 (finding
misjoinder where “[e]ach claim raises potentially different issues, and must be viewed in a separate and
individual light by the Court”).

        In response to this Order to Show Cause, Plaintiffs may, if they so choose, file separate actions
against Defendants, with new complaints and filing fees.

         IT IS SO ORDERED.




CV-90 (06/04)                               CIVIL MINUTES - GENERAL                                      Page 2 of 2
